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12
13                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN FRANCISCO DIVISION
16                                                            Case No. 3:21-md-02981-JD
      IN RE GOOGLE PLAY STORE
17    ANTITRUST LITIGATION
                                                              MANUAL FILING NOTIFICATION
18    THIS DOCUMENT RELATES TO:
19    Epic Games, Inc. v. Google LLC et al.,                  Judge: Hon. James Donato
      Case No. 3:20-cv-05671-JD
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                                         MANUAL FILING NOTIFICATION
                                     Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
             Case 3:20-cv-05671-JD Document 624-33 Filed 12/21/23 Page 2 of 3



 1                                                EXHIBIT 8054

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          Case 3:20-cv-05671-JD Document 624-33 Filed 12/21/23 Page 3 of 3



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